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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                            Case No. 4:16-cr-00061-01 KGB

BRENDA MONTGOMERY                                                               DEFENDANT


             AMENDMENT TO JUDGMENT AND COMMITMENT ORDER

       Pending is a joint motion to correct or reduce sentence pursuant to Rule 35(A) of the

Federal Rules of Civil Procedure (Dkt. No. 49).

       For good cause shown, the Judgment and Commitment Order entered in this matter on

October 3, 2016 (Dkt. No. 45), is hereby amended to reflect the following:

       1.      The defendant Brenda Montgomery is hereby committed to the custody of the

               United States Bureau of Prisons to be imprisoned for a total term of 51 months.

       2.      The defendant Brenda Montgomery is individually liable or responsible for

               restitution in the amount of $1,317,000.00. Restitution is not joint and several

               with the defendant’s co-defendants.

       All other conditions set forth in the original Judgment and Commitment Order (Dkt.

No. 45) remain in full force and effect.

       It is so ordered this 6th day of October, 2016.



                                               ____________________________________
                                               Kristine G. Baker
                                               United States District Judge
